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                                                                                                   By:JustinaLemon
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                                  Cause No.


       MT. HEBRON MISSIONARY BAPTIST § IN THE DISTRICT COURT OF
       CHURCH, INC., HOUSTON, TEXAS  §
                                                     §
                                                     §
       V.        ,                                   § HARRIS COUNTY, TEXAS
                                                     §
                                                     §
       SCOTTSDALE INSURANCE COMPANY, §
       and RICHARD DENNIS SUKOLICS, SR. §                  JUDICIAL DISTRICT

                  PLAINTIFF'S OftIGINAL PETITION & TURY DEMAND

       TO THE HONORABLE JUDGE & JURY OF HARRIS COUNTY CITIZENS:

             Plaintiff MT. HEBRON NIISSIONARY BAPTIST CHURCH, INC.,

       HOUSTON, TEXAS ("Mt. Hebron") ("Plaintiff") file this Original Petition against

       Defendants SCOTTSDALE INSURANCE COMPANY ("Scottsdale") and

       RCHARD DENNIS SUKOLICS, SR. ("Mr. Sukolics'), (collectively "Defendants")

       and would respectfiilly show the following:

                                   Discovery Control Plan

       1.1   Plaintiff intends to conduct discovery under Level 2 of Texas Rule of Civil

       Procedure 190.

                                            Parties

       2.1   Plaintiff, Mt. Hebron Missionary Baptist Church, Inc., Houston, Texas is a

       domestic nonprofit corporation.

       2.2   Upon information and belief Scottsdale Insurance Company is a foreign

       surplus lines insurance company eingaged in the business of insurance in Texas,



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                                         EXHIBIT B
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       operating for the purposes of accumulating morietary profit. Scottsdale regularly

       conducts the business of insurance in a systematic and continuous manner in the

       State of Texas and does not maintain an agent for service in this State.

       Accordingly, Scottsdale may be served with process by serving certified mail,

       return receipt requested, to Corp. Service Company dba CSC-Lawyers Inc

       Service Company, 211 East 7th Street, Suite 620, Austin TX 78701-3218.

       2.3   Upon information and belief, Mr. Sukolics is a natural person who resides

       and works in the State of Texas and may be served with process to Richard Dennis

       Sukolics Sr., 16960 Meadowlark Stxeet Conroe Texas 77385-3731.

                                     Venue & Turisdiction

       3.1   Venue is proper in Harris County, Texas, because the insured's property is

       located in Harris County, Texas, Tex. Civ. Prac. & Rem. Code §15.032. Further,

       Venue is proper in Harris County under Tex. Civ. Prac. & Rem. Code

       §15.002(a)(1) as all or a substantial part of the events or omissions giving rise to

       this claim occurred in Harris County and PlaintifYs property that is the subject of

       the insurance policy, claim,' denial, and litigation is in Hariis County. In

       particular, the adjustment of the claim by Defendant Mr. Sukolics for losses

       under the policy (including denial and underpayment of the claim and payments

       to be made to Plaintiff in Harris County under the-policy) were conducted in

       Harris County, Texas. Further, investigations and policy representations,

       including communications to and from Defendants and Plaintiff (including

       telephone calls, mailings, and other communications to Plaintiff) occurred in


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      Harris County, Texas. Additionally, site inspections and communications

      serving as the basis for suit occurred at the damaged subject property in Harris

      County.

      3.2    Plaintiff seeks damages within the jurisdictional limits of this Court. At

      this time, Plaintiff seeks monetary relief in an amount over $1,000,000. Plaintiff

      reserves the right to modify the amount and type of relief sought in the future.

                                      Factual BackSround

      4.1    On or before August 11, 2015, Scottsdale sold a commercial property

      insurance policy bearing Policy No. CPS2257069 to Plaintiff whereby Scottsdaie

      would provide insurance coverage for the property located at 4615-17 Edfield
                                                                                                ~

      Road, Houston, Texas 77033 (the "Property") in exchange for the timely payment

       of premium (the "Policy'). The Policy was sold by Scottsdale to the Plaintiff as

       the insured under the Policy and provides coverage for damages to the Property

       caused by a windstorm.

       4.2   On or about August 11, 2015, Plaintiff's property was substantiaUy damaged

       by a windstorm that struck Harris County. As a result, the roof, HVAC, interior,

       and exterior of the Property were substantially damaged. Upon discovering the

       damage, Plaintiff filed an insurance claim under the Policy with Scottsdale for

       damages to the Property caused by the windstorm. Plaintiff asked that the cost of

       repairs be covered pursuant to the Policy.

       4.3    Scottsdale is the insurer on the Property. Tn response to the windstorm

       ciaim, Scottsdale assigned adjusters, consultants, and agents to Plaintiff's file that


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           were inadequate and improperly trained and that would violate standard

           insurance practices when directed to do so by Scottsdale. More specifically,

           Scottsdale assigned Plaintiff's claim to Mr. Sukolics to adjust the damages under

           the Policy.

           4.4    Mr. Sukolics failed to perforin a thorough investigation of the claim and

           instead delayed the claim paynient. Mr. Sukolics inspected the property on

           September 3, 2015. He performed an inspection of the Property and prepared an

           estimate confirming the cause and extent of covered damages. Scottsdale failed to

           hire qualified experts to appropriately assess the damage. Mr. Sukolics delayed the

           claims process and failed to communicate with the insured. Mr. Sukolics

           performed an inadequate, incomplete and unreasonable investigation of Plaintiff's

           claim, which is evidenced by his delays, lack of communication, and refusal to hire

           to appropriate consultants. Scottsdale relied on Mr. Sukolics and their preferred

           vendors in determining what amounts, if any, to pay on Plaintiff's daim and failed

           to perform their own adequate investigation.

           4.5    Scottsdale and Mr. Sukolics wrongfully underpaid and denied Plaintiff's

           claim for property repairs. Mr. Sukolics grossly undervalued the damages he did

           accept. Defendents ultimately represented to Plaintiff that certain damages were

           not covered under the Policy when in fact they were. Scottsdale and Mr. Sukolics

           have chosen to continue to deny timely payment of the damages. As a result,

           Plaintiff has not been fully paid under the Policy provided by Scottsdale since the

           windstorm. Plaintiff was forced to hire their own consultant to independently


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      evaluate the damages to the Property because Defendants refused to do so. To this

       day, Scottsdale refuses to pay for the necessary repairs to the Property as required

       under the Policy.

      4.6     As a result of Defendants' acts and/or omissions, Plaintiff was required to

       retain an attomey to prosecute its claim for insurance benefits.

      4.7     Unfortunately, Defendants have delayed payments for Plaintif#'s necessary

       and covered property repairs under the insurance policy that Scottsdale wrote.

       Given the repeated delays of payments, Plaintiff has been subjected to significant

       economic impact, and contiriuing economic and physical damages. Because of

       Oefendants' delays, deruals, and underpayment, Plaintiff has been unable to make

       necessary repairs to the Property which has resulted in further damages to the

       Property. In addition, Plaintiff has suffered financial harm and damage as a result

       of Defendants' denials and repeated delays. The significant effect of Defendants'

       wrongful and unjustified delays, however, is still uncompensated.

               FIRST CAUSE OF ACTION—Violations of Texas Insurance Code

       5.1    Plaintiff re-alleges and incorporates each allegation contained in Paragraphs

       1-4.7 of this Petition as if fully set forth herein.

       5.2    Scottsdale and Mr. Sukolics failed to attempt to effectuate a prompt, fair,

       and equitable settlement of a claims with respect to which liability has become

       reasoriably clear, in violation of Texas Insurance Code Section 541.060 (a)(2)(A).

       5.3 Scottsdale and Mr. Sukolics failed to adopt and implement reasonable

       standards for prompt investigation of claims arising under its policies.


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       5.4    Scottsdale and Mr. Sukolics failed to provide promptly a reasonable

       explanation, in relation to the facts or applicable law, for the denial of a claims, in

       violation of Texas Insurance Code Section 541.060 (a)(3).

       5.5    Scottsdale and Mr. Sukolics failing within a reasonable time to affirm or

       deny coverage of a claim to policyholders; or submit a proper reservation of

       rights to policyholders in violation of Texas Insurance Code Section 541.060(a)(4).

       5.6    Scottsdale and Mr. Sukolics refused to pay claims without conducting a

       reasonable investigation with respect to the claims, in violation of Texas Insurance

       Code Section 541.060 (a)(7).

       5.7 Scottsdale and Mr. Sukolics misrepresented the insurance policies under

       which it affords Propertq coverage to Plaintiff, by making an untrue statement of

       material fact, in violation of Texas Insurance Code Section 541.061 (1). Scottsdale

       and Mr. Sukolics misrepiresented the insurance policies to Plaintiff,.by making an

       untrue statement of material fact, in violation of Texas Insurance Code Section

       541.061 (1).

       5.8    Scottsdale and Mr. Sukolics misrepresented the insurance policies under

       which it affords Property coverage to Plaintiff by failing to state a material fact that

       is necessary to make other statements rnade not misleading, iri violation of Texas

       Insurance Code Section 541.061 (2). Scottsdale and Mr. Sukolics misrepresented

       the insurance policies to Plaintiff by failing to state a material fact that is necessary

       to make other statements. made not misleading, in violation of Texas Insurance

       Code Section 541.061(2).


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       5.9 Scottsdale and Mr. Sukolics misrepresented the insurance policy under

       which it affords Property coverage to Plaintiff by making a statement in such

       manner as to mislead a reasonably prudent person to a false conclusion of material

       fact, and failing to disclose a matter required by law to be disclosed, in violation of

       Texas Insurance Code Section 541.061 (3) and Texas Insurance Code Section 541.002

       (1). Scottsdale and Mr. Sukolics misrepresented the insurance policy to Plaintiff by

       making a statement in such manner, as to mislead a reasonably prudent person to a

       false conclusion of material fact, and failing to disclose a matter required by law to

       be disclosed, in violaiion of Texas Insurance Code Section 541.061 (3) and Texas

       Insurance Code Section 541.002 (1).

       5.10 Scottsdale and Mr. Sukolics knowingly committed the foregoing acts, with

       actual knowledge o£ the falsity, unfairness, or deception of the foregoing acts and

       practices, in violation of Texas Irisurance Code Section 541.002 (1).

                   SECOND CAUSE OF ACTION-Prompt Payment of Claim

       6.1     Plaintiff re-alleges and incorporates each allegation contained in Paragraphs

       1-5.10 of this Petition as if fully set forth herein.          -

       6.2 ' Scottsdale failed to acknowledge receipt of the claim in violation of Texas

       Insurance Code Section 542.055 (a)(1).

       6.3    Scottsdale failed to timely commence investigation of the claim or to request

       from Plaintiff ainy additional items, statements or forms that Scottsdale and Mr.

       Sukolics reasonably believe to be required from Plaintiff in violation of Texas

       Insurance Code Section 542.055 (a) (2)-(3).


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       6.4    Scottsdale failed to notify Plaintiff in writing of the acceptance or rejection of

       the claim not later than the 15+h business day after receipt of all items, statements

       and forms required by Scottsdale and Mr. Sukolics in violation of Texas Insurance

       Code Section 542.056(a).

       6.5    Scottsdale delayed payments of PlaintifYs claim in violation of Texas

       Insurance Code Section 542.058(a).

                         THIRD CAUSE OF ACTION—Statutory Interest

       7.1     Plaintiff re-alleges and incorporates each allegation contained in Paragraphs

       1-6.5 of the Petition as if fully set forth herein.

       7.2     Plaintiff makes a claim for penalties of 18% statutory interest on the

       amount of the claims along with reasonable attorneys' fees for violation of Texas

       Insurance Code Subchapter B pursuant to Texas Insurance Code Section 542.060.

                        FOURTH CAUSE OF ACTION—Breach of Contract

       8.1     Plaintiff re-alleges and incorporates each allegation contained in Paragraphs

       1-7.2 of the Petition as if fully set forth herein.

       8.2     Scottsdale breached . their contract with Plaintiff.          As a result of

       Scottsdale's breach, Plaintiff suffered legal damages.

             FIFTH CAUSE OF ACTION—Breach of duty of good faith & fair dealing

       9.1     Plaintiff re-alleges and incorporates each allegation contained in Paragraphs

       1-8.2 of the Petition as if fully set forth herein.

       9.2     Scottsdale, as the Property coverage insurers, had a duty to deal fairly and

       in good faith with Plaintiff in the processing of the claim. Scottsdale breached this


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       duty by refusing to properly investigate and effectively denying insurance benefits

       even after they admitted that they owed the claim in writing. Scottsdale knew or

       should have known that there was no reasonable basis for denying or delaying the

       required benefits. Scottsdale's duty of good faith and fair dealing was non-

       delegable. As a result of Scottsdale's breach of these legal duties, Plaintiff suffered

       legaI damages.

                    SDCTH CAUSE OF ACTION—Punitive Damages for Bad Faith

       10.1 Plaintiff re-alleges and incorporates each allegation contained in Paragraphs

       1-9.2 of this Petition as if fully set for herein.

       10.2 Defendants acted fraudulently and with malice (as that term is legally

       defined) in denying and delaying Plaintiff's claim for benefits. Further, Defendants

       had actual, subjective awareness of the risk involved, but nevertheless proceeded

       with conscious indifference to the rights, safety, or welfare of Plaintiffs.

                    SEVENTH CAUSE OF ACTION—Violations of Texas DTPA

       11.1 Plaintiff re-alleges and incorporates each allegation contained in Paragraphs

       1-10.2 of this Complaint as if fully set forth herein.

       11.2. The Deceptive Trade Practices-Consumer Protection Act (DT1'A) provides -

       additional protections to consumers who are victims of deceptive, irnproper, or

       illegal practices. Defendants' violations of the Texas Insurance Code create a cause

       of action under the DTPA. Defendants' violations of the Texas Insurance Code, as

       set forth herein, specifically violate the DTPA as well.




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                                         KNOWLEDGE

       12.1 Each of the actions described herein were done "knowingly" as that term is

       used in the Texas Insurance Code and were a producing cause of PlaintifPs

       damages.

                                RESULTING LEGAL DAMAGES

       13.1 Plaintiff is entitled to the actual damages resulting from the Defendants'

       violations of the law. These damages include the consequential damages to its

       economic welfare from the wrongful denial and delay of benefits, and continued

       impact on Plaintiff; lost credit reputation; and the other actual damages

       permitted by law. In addition, Plaintiff is entitled to exempla ry
                                                                        . damages.

       13.2 As a result of Defendants' acts and/or omissions, Plaintiff has sustained

       damages in excess of the minimum jurisdictional limits of this Court.

       13.3 Plaintiff is entitled under law to the recovery of prejudgment interest at

        the maximum legal rate.

       13.4 Defendants knowing violations of the Texas Insurance Code and DTPA

        entitle Plaintiff to the attorneys' fees, treble damages, and other penalties

        provided by law.

        13.5 Plaintiff is entitled to statutory interest on the amount of their claim at the

        rate of 18% per year as damages under the Texas Insurance Code 542.060(a).

       13.6 As a result of Defendants' acts and/or omissions, Plaintiff has sustained
                                                                                               N
        damages in excess of the jurisdictional limits of this Court.




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       13.7 Plaintiff is eiititled under law to the recovery of prejudgment interest at

       the maximum legal rate.

       13.8 Plaintiff is entitled to the recovery of attorneys' fees pursuant to Tex. Civ.

       Prac. & Rem. Code §38.001, the Texas Insurance Code 542.060(a)-(b), the Tex. Bus

       & Commerce Code §17.50 and Tex. Civ. Prac. & Rem. Code §37.009.

                                             Prayer
              WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully request

       that Plaintiff have judgment against Defendants for actua2 damages in excess of

       the minimum jurisdictional limits of this Court, pre- and post-judgment interest

       as allowed by law, costs of suit, and all other relie£, at law or in equity, to which

       Plaintiff may be entitled.




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                                                          Respectfully submitted,

                                                          RAiz SL iA LLP



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                                                          ATTORNEYS FOR PLAINTIFF


                                         TURY DEMAND

       Plaintcff hereby demands a trial by jury, a right enshrined in the Constitution of the
       United States of America and the State of Texas and pr erved by the sacrifices of inany.
       The necessary jury fee has been paid.




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